           Case 16-40031       Doc 19     Filed 04/28/16     Entered 04/29/16 00:02:29   Desc Imaged Certificate of Notice   Page 1 of 4


Information to identify the case:
Debtor 1              James D Grisham                                                      Social Security number or ITIN       xxx−xx−4172
                      First Name   Middle Name   Last Name                                 EIN    _ _−_ _ _ _ _ _ _
Debtor 2              Yamileth D. Grisham                                                  Social Security number or ITIN       xxx−xx−2799
(Spouse, if filing)
                      First Name   Middle Name   Last Name                                 EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of Texas

Case number: 16−40031



Order of Discharge                                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           James D Grisham                                                       Yamileth D. Grisham


           4/26/16                                                               By the court: Brenda T. Rhoades
                                                                                               United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                                   This order does not prevent debtors from paying
and it does not determine how much money, if                                     any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                             debts according to the reaffirmation agreement.
                                                                                 11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                        Most debts are discharged
attempt to collect a discharged debt from the                                    Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                       all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                                  personal liability for debts owed before the
or otherwise try to collect from the debtors                                     debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                                 Also, if this case began under a different chapter
in any attempt to collect the debt personally.                                   of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                                 to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                                      are discharged.
However, a creditor with a lien may enforce a                                    In a case involving community property: Special
claim against the debtors' property subject to that                              rules protect certain community property owned
lien unless the lien was avoided or eliminated.                                  by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                                    not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                                 For more information, see page 2 >




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Some debts are not discharged                                        Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:                       agreement are not discharged.

     ♦ debts that are domestic support                               In addition, this discharge does not stop
       obligations;                                                  creditors from collecting from anyone else who is
                                                                     also liable on the debt, such as an insurance
                                                                     company or a person who cosigned or
     ♦ debts for most student loans;                                 guaranteed a loan.


     ♦ debts for most taxes;
                                                                      This information is only a general summary
     ♦ debts that the bankruptcy court has                            of the bankruptcy discharge; some
       decided or will decide are not discharged                      exceptions exist. Because the law is
       in this bankruptcy case;                                       complicated, you should consult an
                                                                      attorney to determine the exact effect of the
                                                                      discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                           United States Bankruptcy Court
                                             Eastern District of Texas
In re:                                                                                                    Case No. 16-40031-btr
James D Grisham                                                                                           Chapter 7
Yamileth D. Grisham
         Debtors
                                             CERTIFICATE OF NOTICE
District/off: 0540-4            User: carterl                         Page 1 of 2                            Date Rcvd: Apr 26, 2016
                                Form ID: 318                          Total Noticed: 36


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 28, 2016.
db/jdb         +James D Grisham,   Yamileth D. Grisham,     5613 Bay Meadows Drive,    Frisco, TX 75034-4611
cr             +Wells Fargo Bank, N.A.,    c/o BDFTE, LLP,    15000 Surveyor Blvd Suite 100,
                 Addison, TX 75001-4417
7053843        +Bank of America,   P. .O. Box 15284,     Wilmington, DE 19850-5284
7053844         Bank of America,   P. .O. Box 19850,     Wilmington, DE. 19850
7053848         Citibank,   C/O Client Services, Inc.,     3451 Harry S. Truman, Blvd,
                 St. Charles, MO 63301-4047
7053849         Cook Childrens’ Med. Cntr,    P. O. Box 961257,    Fort Worth, Tx. 76161-0257
7053851        +Credit Control,   245 East Roselawn #25-26,     Maplewood, MN 55117-1988
7053852        +Ditech,   C/O Johnson & Silver,    12720 Hillcrest,    Dallas, Tx 75230-2035
7053853         Financial Corp. of America,    P. O. Box 203500,    Austin, Tx. 78720-3500
7053854         First Source Advantage,    P O Box 1299717,    Buffalo, NY 14240
7053855        +Hunter Warfield Collectionis & Asset Inv,     4620 Woodland Corporate Blvd,
                 Tampa, FL 33614-2415
7053857        +LCA Collections,   Box 2240,    Burlington, NC 27216-2240
7053856        +Law Offices of Kenneth S. Harter,     1620 E. Beltline Rd.,    Carrollton, Tx 75006-6309
7053858        +Management Services, Inc.,    P. O. Box 1099,    Langhorne, PA 19047-6099
7053859         NCO Financial Systems, Inc.,    P. O. Box 15137,    Wilmington, DE 19850-5137
7053861        +Northstar Location Services,    Attn: Financial Dept,      4285 Genesee St.,
                 Buffalo, NY 14225-1943
7053862        +Penn Credit Corp,   916 So. 14th St.,     Box 988,   Harrisburg, PA 17104-3425
7053864        +Quantum Builders,   6125 W. Sam Houston Pkwy N,     #203,    Houston, Tx 77041-5128
7053865         Quest Diagnostics, Inc.,    P. O. Box 41652,    Philadelphia, PA 19101-1652
7053866        +Southwestern & Pacific Specialty Financi,     d/b/a Check N Go,    4540 Cooper Rd. Suite 200,
                 Cincinatti, OH 45242-5649
7053867         Sunrise Credit Services,    Box 9100,    Farmingdale, NY 11735-9100
7053868         Texas Vision and Laser Center,    2709 Virginia Pkwy,     Suite 200,   McKinney, Tx. 75071-5400
7053869        +Transworld,   9525 Sweet Valley Drive,     Valley View, OH 44125-4237

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QMAWEISBART.COM Apr 27 2016 00:58:00      Mark A. Weisbart,
                 The Law Office of Mark A. Weisbart,    12770 Coit Road, Suite 541,    Dallas, TX 75251-1366
7053840        +EDI: AMEREXPR.COM Apr 27 2016 00:58:00      AMERICAN EXPRESS,    P. O. BOX 5027,
                 FT. LAUDERDALE, FL 33310-5027
7053842        +EDI: ARSN.COM Apr 27 2016 00:58:00      ARS National Services,    201 W. Grand Av.,
                 Escondido, CA 92025-2603
7053841        +EDI: RMCB.COM Apr 27 2016 00:58:00      American Medical Collection Agency,
                 4 Westchester Plaza,    Bldg 4,   Elmsford, NY 10523-1612
7053845         E-mail/Text: cms-bk@cms-collect.com Apr 27 2016 00:59:41       Capital Management Services, LP,
                 698 1/2 south Ogden St.,    Buffalo, NY 14206-2317
7053846        +E-mail/Text: opsqa_usbankruptcy@cashnetusa.com Apr 27 2016 00:59:29       Cash Net USA,
                 200 West Jackson St. Suite 1400,    Chicago, IL 60606-6929
7053847        +E-mail/Text: bankruptcy@cavps.com Apr 27 2016 01:00:00       Cavalry Portfolio Services,
                 500 Summit Lake Dr.,    Valhalla, NY 10595-2322
7053850        +E-mail/Text: Umesh.Patil@credencerm.com Apr 27 2016 01:00:11       Credence,   17000 Dallas Pkwy,
                 Suite 204,   Dallas, Tx 75248-1940
7053860        +E-mail/Text: bankruptcynotices@schear.net Apr 27 2016 01:00:01
                 NCP Finance Limited Partnership,    205 Sugar Camp Cir,    Dpt CNG,   Dayton, Oh 45409-1970
7053863         EDI: PRA.COM Apr 27 2016 00:58:00      Portfolio Recovery Associates,    P. O. Box 12914,
                 Norfolk, VA 23541
7059085         EDI: RECOVERYCORP.COM Apr 27 2016 00:58:00       Recovery Management Systems Corporation,
                 25 S.E. 2nd Avenue, Suite 1120,    Miami, FL 33131-1605
7053866        +EDI: CHECKNGO.COM Apr 27 2016 00:58:00      Southwestern & Pacific Specialty Financi,
                 d/b/a Check N Go,    4540 Cooper Rd. Suite 200,    Cincinatti, OH 45242-5649
7053870        +EDI: WFFC.COM Apr 27 2016 00:58:00      Wells Fargo,    P. O. Box 30086,
                 Los Angeles, Ca 90030-0086
7053871         EDI: WFFC.COM Apr 27 2016 00:58:00      Wells Fargo Home Mortgage,    P. O. box 14547,
                 Des Moines, IA 50306-3547
                                                                                              TOTAL: 14

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                                TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
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             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 28, 2016                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 26, 2016 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
